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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  TERRE HAUTE DIVISION

  UNITED STATES OF AMERICA,                         )
        Plaintiff,                                  )
                                                    )
         vs.                                        )     2:13-cr-00016-JMS-CMM-13
                                                    )
  BRITTANY SIBANDE,                                 )
        Defendant.                                  )
                                                    )

                                              ORDER

        On October 20, 2015, Defendant Brittany Sibande filed a “Request for Second Chance Act

 for Additional Halfway House Due to Extraordinary Circumstances and Incapacitation of Primary

 Care Giver.” [Filing No. 544.] In her Request, Ms. Sibande asks that the Court, pursuant to the

 “Second Chance Act,” 18 U.S.C. § 3624(c), allow her to serve the remainder of her sentence at a

 halfway house so that she can participate in “the rearing of [her] children and their special needs.”

 [Filing No. 544 at 4.] The Government opposes Ms. Sibande’s Request, arguing that the Court

 does not have authority to revise Ms. Sibande’s sentence pursuant to the Second Chance Act and,

 in any event, does not have jurisdiction at this time to change the sentence that it imposed. [Filing

 No. 549.]

        In her Request, Ms. Sibande relies only upon the Second Chance Act in requesting place-

 ment in a halfway house. But the Second Chance Act only authorizes the Bureau of Prisons – not

 the Court – to place an incarcerated individual in a halfway house before their term of imprison-

 ment ends. See 18 U.S.C. § 3624(c) (“The Director of the Bureau of Prisons shall, to the extent

 practicable, ensure that a prisoner serving a term of imprisonment spends a portion of the final

 months of that term…under conditions that will afford that prisoner a reasonable opportunity to




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 adjust to and prepare for the reentry of that prisoner into the community. Such conditions may

 include a community correctional facility”).

           Further, while the Court may “correct a sentence that resulted from arithmetical, technical,

 or other clear error,” it must do so within fourteen days after sentencing. See Fed. R. Crim. P.

 35(a). The time limit included in Rule 35 “is jurisdictional.” United States v. Wisch, 275 F.3d

 620, 626 (7th Cir. 2001); see also United States v. Baldwin, 414 F.3d 791, 797 (7th Cir. 2005)

 (“The Supreme Court has held that [Rule 35] operate[s] to deprive the court of authority to act

 after the time period specified in the rule has elapsed”). The Court sentenced Ms. Sibande on

 August 6, 2014, [see Filing No. 477], so does not have jurisdiction to revise the sentence at this

 point.

           To the extent Ms. Sibande may have additional arguments that are not based on the Second

 Chance Act, she has not articulated them and the Court cannot craft any such arguments for her.

 Accordingly, for the foregoing reasons, the Court DENIES Ms. Sibande’s Request, [Filing No.

 544].
                                                     _______________________________
          Date: November 13, 2015
                                                         Hon. Jane Magnus-Stinson, Judge
                                                         United States District Court
                                                         Southern District of Indiana



 Distribution via ECF only to all counsel of record

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